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                         EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  THE HUNTINGTON NATIONAL                             )
  BANK, a National Banking Association,               )    Case No. 2:19-cv-10890
                                                      )
          Plaintiff,                                  )    Honorable Stephen J. Murphy, III
                                                      )
  v.                                                  )
                                                      )
  SAKTHI AUTOMOTIVE GROUP                             )
  USA, INC., a Michigan corporation                   )
  SAKTHI AMERICA CORPORATION,                         )
  a Michigan corporation, and SAKTHI                  )
  REAL ESTATE HOLDINGS, INC., a                       )
  Michigan corporation,                               )

       Defendants.
  _____________________________________

       ORDER (A) APPROVING BIDDING PROCEDURES (B) AUTHORIZING
       DEFENDANTS TO ENTER INTO THE STALKING HORSE PURCHASE
             AGREEMENT, (C) AUTHORIZING AN AUCTION SALE, AND
      (D) APPROVING THE SALE TO THE STALKING HORSE BIDDER IF IT
       IS (I) THE ONLY QUALIFIED BIDDER OR (II) THE HIGHEST BIDDER
          This matter coming before the Court on Receiver’s Motion to Approve

  Bidding Procedures and to Authorize an Auction Sale (the “Motion”), 1 filed by

  court-appointed receiver Kevin English of Lark Advisors LLC (the “Receiver”) on

  behalf of Defendants Sakthi Automotive Group USA, Inc., Sakthi America




  1
          Capitalized terms not defined herein have the meanings given to them in the Motion or in
          the Stalking Horse Purchase Agreement.
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  Corporation, and Sakthi Real Estate Holdings, Inc., (the “Defendants”), and

  the Court having reviewed the Motion, and having heard the statements of counsel

  regarding the relief requested in the Motion and at a hearing before the Court

  (the “Hearing”); and the Court finding that (i) it has jurisdiction over the matters

  raised in the Motion; (ii) the relief requested in the Motion is in the best interests of

  the Defendants, their estates, and their creditors; (iii) proper and adequate notice of

  the Motion and the Hearing has been given and no other or further notice is necessary;

  and (iv) upon the record herein after due deliberation thereon, good and sufficient

  cause exists for the granting of the relief as set forth herein;


        IT IS HEREBY FOUND AND DETERMINED THAT:

        A.        The Court has personal jurisdiction over Defendants, who conduct

  business in the State of Michigan.

        B.        The Court is a proper venue under 28 U.S.C. § 1391(b) because a

  substantial portion of the acts and omissions giving rise to the claims occurred in

  this district, and a substantial proportion of the property that is the reason for this

  action is located in this district. Additionally, under 28 U.S.C. § 1332(a), the Court

  has jurisdiction over this action between citizens of different states for an amount in

  controversy of over $75,000.00. Further, Defendants consented to this Court’s

  jurisdiction.




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        C.     The Receiver has (i) articulated good and sufficient reasons to this

  Court to grant the relief requested in the Motion, the Stalking Horse Purchase

  Agreement, and the Bidding Procedures, and (ii) demonstrated sound business

  justifications to support such relief.

        D.     The Bidding Procedures are fair, reasonable, and appropriate, and are

  designed to maximize the value of the Defendants’ estates.

        E.     The Receiver and the Stalking Horse Bidder entered into the Stalking

  Horse Purchase Agreement, which is attached to the Motion as Exhibit B. The

  provisions of the Stalking Horse Purchase Agreement and the Bidding Procedures

  are reasonable, including material inducements to the Stalking Horse Bidder which

  were reasonably relied upon by the Stalking Horse Bidder in deciding to enter into

  the Stalking Horse Purchase Agreement, and are designed to achieve the highest or

  otherwise best price for the Purchased Assets.

        F.     The Receiver has demonstrated a compelling and sound business

  justification for authorizing and requiring the payment of the Break-Up Fee and the

  Expense Reimbursement Amount (“Bid Protections”). The Bidding Procedures,

  including, but not limited to, the Break-Up Fee and the Expense Reimbursement

  Amount, are fair and reasonable, provide a material benefit to the Defendants’

  estates and creditors, and were negotiated by the Defendants in good faith and at

  arm’s length.



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        G.     The assurance of the payment of the Break-Up Fee and the Expense

  Reimbursement Amount (i) will promote more competitive bidding by inducing the

  Stalking Horse Bid, which otherwise would not have been made, without which

  competitive bidding would be limited, and which may be the highest and best

  available offer for the Purchased Assets, (ii) has induced the Stalking Horse Bidder

  to research the value of the Purchased Assets, conduct extensive due diligence, and

  propose the transactions contemplated by the Stalking Horse Purchase Agreement,

  including, among other things, submission of a bid that will serve as a minimum or

  floor bid on which all other bidders can rely, and (iii) will provide a benefit to the

  Defendants’ estates by increasing the likelihood that the price at which the Purchased

  Assets are sold will reflect their true worth.

        H.     Notice of the Motion, the Bidding Procedures, the proposed entry of

  this Order, and the hearing to consider the Motion, the Bidding Procedures, and the

  entry of this Order (the “Bidding Procedures Hearing”) has been provided as set

  forth in the Motion, and is appropriate and reasonably calculated to provide all

  interested parties with timely and proper notice and no other or further notice of, or

  hearing on, the Motion or this Order is required.

        I.     Entry of this Order is in the best interests of the Defendants and their

  respective estates and creditors, and all other parties in interest.




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        IT IS THEREFORE ORDERED THAT:

        1.     The Motion is GRANTED as set forth herein.

        2.     All objections to the entry of this Order or to the relief provided herein,

  that have not been withdrawn with prejudice, waived, resolved, or settled are hereby

  denied and overruled on the merits with prejudice.

        3.     The Bidding Procedures, including, but not limited to, the Bid

  Protections and references therein to the Stalking Horse Purchase Agreement,

  attached hereto as Annex 1 are hereby approved in all respects and shall govern all

  bids and bid proceedings relating to the Receivership Assets under the terms

  thereof.   The Receiver and his professionals and agents are authorized and

  empowered to take any and all actions necessary or appropriate to implement the

  Bidding Procedures.

        4.     As a result of the benefit to the Defendants and their estates of the

  Stalking Horse Purchase Agreement and to provide an incentive and to compensate

  the Stalking Horse Bidder for performing the substantial due diligence and

  incurring the expenses necessary and entering into the Stalking Horse Purchase

  Agreement with the knowledge and risk that arises from participating in the sale

  and subsequent bidding process, the Defendants shall pay the Stalking Horse

  Bidder, under the conditions and in the amount set forth in the Stalking Horse

  Purchase Agreement and this Order, the Break-Up Fee in the amount of

  $1,000,000.00 and the Expense Reimbursement of up to $1,000,000. The Break-
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  Up Fee and the Expense Reimbursement Amount shall be paid in accordance with

  the Stalking Horse Purchase Agreement, the Bidding Procedures, and this Order.

        5.     The Good Faith Deposit of the Successful Bidder (other than the

  Stalking Horse Bidder) will be used first to satisfy any Break-Up Fee and Expense

  Reimbursement Amount to which the Stalking Horse Bidder is entitled hereunder

  by reason of its not being the Successful Bidder.

        6.     All objections based on events occurring at the Auction must be: (a)

  in writing; (b) signed by counsel or attested to by the objecting party; (c) in

  conformity with the Local Rules of the Court; (d) filed with the Court by until 4:00

  p.m. (prevailing Eastern Time) on the October 4, 2019 (the “Auction Objection

  Deadline”); and (e) served on the following parties (collectively, the “Objection

  Notice Parties”) in accordance with the Local Rules of the Court so as to be

  received on or before the relevant objection deadline: (i) counsel for Receiver,

  The Dragich Law Firm PLLC, 17000 Kercheval Avenue, Suite 210, Grosse Pointe,

  MI 48230 (Attn: David Dragich, Esq. and Amanda Vintevoghel, Esq.); (ii) counsel

  for the Stalking Horse Bidder, (a) Jones Day, North Point, 901 Lakeside Avenue,

  Cleveland, OH 44114 (Attn: Thomas Wearsch, Esq.); and (b) Jones Day, 150 West

  Jefferson Avenue, Suite 2100, Detroit, MI 48266 (Attn: Arthur O’Reilly, Esq.).

  Each objection shall state the legal and factual basis of such objection and may be

  orally supplemented at the relevant hearing.



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        7.     The Receiver is authorized and empowered to consummate a sale to

  AAPICO Hitech Public Company Limited (“AAPICO”) without further court

  approval (“Stalking Horse Closing”) if either of the following conditions is met:

  (1) no other Qualified Bid is received or (2) an Auction is held and the Stalking

  Horse Bid is the highest bid of all the Qualified Bids. With respect to the Stalking

  Horse Closing:

              i.     The Receiver and Sellers are authorized to perform their
                     obligations under and comply with all terms of the
                     Stalking Horse Purchase Agreement and to take all action
                     necessary to consummate the sale of the Purchased Assets,
                     pursuant to and in accordance with the terms and
                     conditions of the Stalking Horse Purchase Agreement and
                     this Order, including, without limitation, to pay a cash
                     component of the Purchase Price at the closing of the sale
                     to the Plaintiff in an amount to pay in full all obligations
                     and indebtedness owed to (1) the Plaintiff under (a) that
                     certain Master Equipment Lease Agreement Number
                     57244, together with Leasing Schedule Nos. 57244-001,
                     002, 003, 004, 005, and 006, and (b) that certain Credit and
                     Security Agreement dated as of October 30, 2015, by and
                     among the Plaintiff and the Defendants, as the same has
                     been or may be amended, modified, or amended and
                     restated from time to time, and (2) the Purchaser the Credit
                     Bid Amount, the Break-Up Fee and the Expense
                     Reimbursement.

              ii.    The Sellers are authorized to transfer the Purchased Assets in
                     accordance with the terms and conditions of the Stalking Horse
                     Purchase Agreement.

              iii.   Upon consummation of the Stalking Horse Purchase Agreement,
                     such transfer shall (a) be legal, valid, binding, and effective; (b)
                     vest Purchaser with all right, title, and interest of the Sellers in
                     the Purchased Assets as stated in the Stalking Horse Purchase
                     Agreement; and (c) except as provided in the Stalking Horse

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                   Purchase Agreement, be free and clear of all (i) liens, claims,
                   mortgages, restrictions, hypothecations, charges, indentures,
                   loan agreements, instruments, leases, license, options, deeds of
                   trust, security interests, conditional sale, or other title retention
                   agreements, pledges, liens (including, without limitation,
                   mechanic’s, materialman’s, or other consensual and non-
                   consensual liens and statutory liens), judgments, demands,
                   encumbrances, rights of any kind, remedies of any kind,
                   restrictions of any kind, of rights of offsets, contracts, rights of
                   recoupment, rights of recovery, claims for reimbursement,
                   claims for contribution, claims for indemnity, claims for
                   exoneration, claims for environmental liability, claims for tax
                   liability, decrees of any court or foreign or domestic
                   governmental entity, or charges of any kind or nature, including
                   but not limited to any restriction on the use, voting, transfer,
                   receipt of income or other exercise of any attributes of
                   ownership, debts arising in any way in connection with any
                   agreements, acts, or failures to act, of the Defendants, or the
                   Defendants’ predecessors or affiliates, claims, reclamation
                   claims, obligations, liabilities, demands, guaranties, options,
                   rights, contractual or other commitments, restrictions, interests,
                   and matters of any kind or nature, whether known or unknown,
                   choate or inchoate, filed or unfiled, scheduled or unscheduled,
                   noticed or unnoticed, recorded or unrecorded, perfected or
                   unperfected, allowed or disallowed, contingent or non-
                   contingent, liquidated or unliquidated, matured or unmatured,
                   material or non-material, disputed or undisputed, whether in rem
                   or in personam, whether arising prior to or subsequent to the
                   commencement of this Case, whether imposed by agreement,
                   understanding, law, equity, or otherwise, including claims
                   otherwise arising under doctrines of successor liability, senior or
                   subordinate, whether at law or equity, including all claims or
                   rights based on any theory of successor or transferee liability, (ii)
                   all environmental claims, all changes in control provisions, (iii)
                   all rights to object or consent to the effectiveness of the transfer
                   of the Purchased Assets to Purchaser, (iv) all rights at law or
                   equity, and (v) all interests in the Purchased Assets (collectively,
                   “Interests or Claims”), with any such Interests or Claims to attach
                   to the cash proceeds of the sale of the Purchased Assets in the
                   order of their priority with the same validity, force, and effect
                   and to the extent that they now have as against the Purchased
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                    Assets, subject to any claims or defenses Defendants or any other
                    party in interest may possess with respect thereto.

              iv.   Following the closing of the sale of the Purchased Assets, no
                    holder of any Interests or Claims in the Purchased Assets may
                    interfere with Purchaser’s use and enjoyment of the Purchased
                    Assets based on or related to such Interests or Claims, or any
                    actions that Defendants may take, and no person shall take any
                    action to prevent, interfere with, or otherwise enjoin
                    consummation of the transactions contemplated in or by the
                    Stalking Horse Purchase Agreement and any related agreements,
                    documents, or instruments, or this Order. All holders of Interests
                    or Claims of any kind are forever barred, estopped, and
                    permanently enjoined from pursuing or asserting such Interests
                    or Claims against Purchaser or any affiliate of Purchaser or any
                    of their assets, property, successors, assigns, or against the
                    Purchased Assets.
              v.    From time to time following the Closing, the Receiver and
                    Purchaser will, and will cause their respective affiliates to,
                    execute, acknowledge, and deliver all such further conveyances,
                    notices, assumptions, assignments, releases, and other
                    instruments, and will take such further actions, as may be
                    reasonably necessary or appropriate to assure fully to Purchaser
                    and its respective successors or assigns, all of the properties,
                    rights, titles, interests, estates, remedies, powers, and privileges
                    intended to be conveyed to Purchaser under the Stalking Horse
                    Purchase Agreement. Nothing in this Order will require
                    Purchaser or any of their affiliates to assume any liabilities other
                    than the Assumed Liabilities specifically described in the
                    Stalking Horse Purchase Agreement.

              vi.   The sale of the Purchased Assets was undertaken in good faith
                    and accordingly, the reversal or modification on appeal of the
                    authorization provided herein of the sale of the Purchased Assets
                    shall neither affect the validity or enforceability of the Stalking
                    Horse Purchase Agreement nor the transfer of the Purchased
                    Assets to Purchaser, free and clear of all Interests and Claims,
                    and notwithstanding any such reversal or modification, the
                    transfer of the Purchased Assets to Purchaser will be governed in


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                     all respects by the original provisions of this Order and the
                     Stalking Horse Purchase Agreement.

              vii.   Except as expressly provided in the Stalking Horse Purchase
                     Agreement, Purchaser is not assuming nor shall Purchaser or any
                     of Purchaser’s affiliates be in any way liable or responsible, as a
                     successor or otherwise, for any liabilities, debts, or obligations
                     of Sellers in any way whatsoever relating to or arising out of
                     Sellers’ ownership or use of the Purchased Assets prior to the
                     consummation of the transactions contemplated by the Stalking
                     Horse Purchase Agreement (including, without limitation, any
                     Interests or Claims), or any liabilities calculable by reference to
                     the Sellers or their assets or operations, or relating to continuing
                     or other conditions existing on or prior to consummation of the
                     transactions contemplated by the Stalking Horse Purchase
                     Agreement, which liabilities, debts, and obligations are hereby
                     extinguished insofar as they may give rise to liability, successor
                     or otherwise, against Purchaser or any affiliate of Purchaser.
                     Without limiting the generality of the foregoing and except as
                     expressly provided in the Stalking Horse Purchase Agreement,
                     Purchaser will not be liable or responsible, as a successor or
                     otherwise, for Sellers’ liabilities, debts, commitments, or
                     obligations, whether calculable by reference to Sellers, arising on
                     or prior to the Closing and under or in connection with (i) any
                     employment or labor or collective bargaining agreements,
                     consulting agreements, severance agreements, change in control
                     agreements, or other similar agreements to which Sellers are a
                     party, (ii) any pension, welfare, compensation, or other employee
                     benefit plans, agreements, practices, programs, including
                     without limitation, any pension plan of Sellers, (iii) the cessation
                     of the Sellers’ operations, dismissal of employees, or termination
                     of employment or labor agreements or pension, welfare,
                     compensation, or other employee benefit plans, agreements,
                     practices, and programs, obligations that might otherwise arise
                     from or under the Employee Retirement Income Security Act of
                     1974, as amended, the Fair Labor Standard Act, Title VII of the
                     Civil Rights Act of 1964, the Age Discrimination and
                     Employment Act of 1967, the Americans with Disabilities Act
                     of 1991, the Federal Rehabilitation Act of 1973, the National
                     Labor Relations Act, the Consolidated Omnibus Budget
                     Reconciliation Act of 1985, COBRA, or the Worker Adjustment

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                     and Retraining Notification Act, (iv) environmental liabilities,
                     debts, claims, or obligations arising from conditions first existing
                     on or prior to closing of the Closing (including, without
                     limitation, the presence of hazardous, toxic, polluting, or
                     contaminating substances or waste), which may be asserted on
                     any basis, including, without limitation, under the
                     Comprehensive Environmental Response Compensation and
                     Liability Act, 42 U.S.C. § 9601, et seq., (v) any bulk sales or
                     similar law, (vi) any liabilities, debts, commitments or
                     obligations of or required to be paid by Sellers for any taxes of
                     any kind for any period, (vii) any liabilities, debts, commitments,
                     or obligations for any taxes relating to the business of Sellers or
                     the Purchased Assets for or applicable to the pre-closing period,
                     and (viii) any products liability or similar claims, whether under
                     any state or federal laws or otherwise.

              viii. Purchaser is deemed not to be, as a result of the consummation
                    of the transaction contemplated by the Stalking Horse Purchase
                    Agreement: (a) the successor to the Sellers; (b) de facto or
                    otherwise, merged with or into Sellers; (c) the alter ego, a mere
                    continuation or substantial continuation of the Sellers or the
                    enterprise of the Sellers; or (d) responsible for any liability of the
                    Sellers or for payment of any benefit accruing to the Sellers,
                    except as specifically provided for in the Stalking Horse
                    Purchase Agreement.
              ix.    Each and every federal, state, and local governmental agency,
                     department, or official is hereby directed to accept any and all
                     documents and instruments necessary and appropriate to
                     consummate the Stalking Horse Purchase Agreement.
              x.     The Defendants and the Purchaser are authorized to make non-
                     substantive changes (including changes to dates) to the Stalking
                     Horse Purchase Agreement and any ancillary documents without
                     seeking further order of this Court.

              xi.    This Order and the Stalking Horse Purchase Agreement shall be
                     binding upon, and shall inure to the benefit of, the Sellers and
                     Purchaser, and their respective successors and permitted assigns.
              xii.   The terms and conditions of this Order shall be immediately
                     effective and enforceable upon its entry.

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         8.     The form of the Notice of Auction and Sale of Receivership Assets,

   attached as Exhibit C to the Motion, and the manner of service described herein are

   appropriate and sufficient for all purposes and hereby approved in all respects. The

   Defendants shall be permitted to make non-substantive revisions to such notices.

         9.     Notwithstanding anything in the Motion, this Order, and/or the

   Stalking Horse Purchase Agreement to the contrary, upon the Closing of the sale

   contemplated herein, the Receiver is authorized and directed to immediately

   distribute the proceeds of the sale as follows:

               i.     To the Receiver, the Post-Closing Budget Amount to be held by
                      the Receiver in Trust, which funds may only be used to pay those
                      Receiver’s fees and costs, and those fees and costs of the
                      Receiver’s retained professionals, which have been, or are
                      subsequently, approved by this Court pursuant to section six of
                      the Receivership Order;

               ii.    To the Plaintiff, an amount to pay in full the obligations and
                      indebtedness owed to the Plaintiff under (i) that certain Master
                      Equipment Lease Agreement Number 57244, together with
                      Leasing Schedule Nos. 57244-001, 002, 003, 004, 005, and 006,
                      and (ii) that certain Credit and Security Agreement dated as of
                      October 30, 2015, by and among the Plaintiff and the
                      Defendants, as the same has been or may be amended, modified,
                      or amended and restated from time to time;
               iii.   To Purchaser, the Credit Bid Amount, the Break-Up Fee, and
                      the Expense Reimbursement.

               iv.    The balance, if any, to be held by the Receiver pending further
                      Order of this Court.




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         10.    No other or further notice of the Motion, this Order, the Bidding

   Procedures, the sale, or the Auction shall be required.



   Submitted by:

   David G. Dragich
   Amanda C. Vintevoghel
   17000 Kercheval Avenue, Suite 210
   Grosse Pointe, MI 48230

   Attorneys for Receiver Kevin English,
   Lark Advisors LLC

   Thomas M. Wearsch (admitted pro hac vice)
   Jones Day
   North Point
   901 Lakeside Avenue
   Cleveland, OH 44114

   Arthur T. O’Reilly
   Jones Day
   150 West Jefferson Avenue, Suite 2100
   Detroit, MI 48226

   Attorneys for AAPICO




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                                    Annex 1

                               Bidding Procedures
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  THE HUNTINGTON NATIONAL                            )
  BANK, a National Banking Association,              )   Case No. 2:19-cv-10890
                                                     )
        Plaintiff,                                   )   Honorable Stephen J. Murphy, III
                                                     )
  v.                                                 )
                                                     )
  SAKTHI AUTOMOTIVE GROUP                            )
  USA, INC., a Michigan corporation                  )
  SAKTHI AMERICA CORPORATION,                        )
  a Michigan corporation, and SAKTHI                 )
  REAL ESTATE HOLDINGS, INC., a                      )
  Michigan corporation,                              )

       Defendants.
  _____________________________________

                               BIDDING PROCEDURES1

        The Receiver believes that the following Bidding Procedures are appropriate

  for this transaction, and requests entry of an order confirming the following

  procedures (the “Bidding Procedures”) as set forth herein:

        a.     Definition of Qualified Bidder. AAPICO shall be a Qualified Bidder.

  Unless otherwise ordered by the Court for cause shown, any other potential bidder

  shall become a “Qualified Bidder” only if the potential bidder delivers to the




  1
        Capitalized terms not defined herein have the meanings given to them in the Motion or in
        the Stalking Horse Purchase Agreement.



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  Receiver by no later than 4:00 p.m. (prevailing Eastern Time) on September 30, 2019

  (the “Bid Deadline”) to The Dragich Law Firm PLLC, 17000 Kercheval Avenue,

  Suite 210, Grosse Pointe, MI 48230 the following:

              i.     A completed purchase agreement, substantially in the
                     same form as the Stalking Horse Purchase Agreement, but
                     reflecting an increase in the consideration for a total of
                     $1,000,000.00 more than the Purchase Price, the Break-
                     Up Fee, and Expense Reimbursement Amount (as defined
                     in the Stalking Horse Purchase Agreement), attached to
                     the Motion as Exhibit B. Such agreement shall include no
                     financing contingencies and shall not be on terms worse
                     than the Stalking Horse Purchase Agreement, as
                     determined by the Receiver in his sole discretion, and shall
                     include a cash component of the Purchase Price to pay (1)
                     the Plaintiff in full at the closing of the sale all obligations
                     and indebtedness owed to the Plaintiff under (a) that
                     certain Master Equipment Lease Agreement Number
                     57244, together with Leasing Schedule Nos. 57244-001,
                     002, 003, 004, 005, and 006, and (b) that certain Credit and
                     Security Agreement dated as of October 30, 2015, by and
                     among the Plaintiff and the Defendants, as the same has
                     been or may be amended, modified, or amended and
                     restated from time to time, and (2) the Purchaser the Credit
                     Bid Amount, the Break-Up Fee, and the Expense
                     Reimbursement.

              ii.    Financial disclosures, including bank statements or other
                     proof of funds and other information acceptable to the
                     Receiver to demonstrate such Potential Bidder’s financial
                     and other abilities to consummate a sale with respect to
                     any expected bid higher than the Stalking Horse Bid.

              iii.   A certified check or funds in an amount equal to ten
                     percent (10%) of the purchase price (the “Good Faith
                     Deposit”) to be held in a non-interest bearing trust account
                     by the Receiver and shall be subject to the jurisdiction of
                     this Court. If a sale is ultimately consummated with the

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                     Qualified Bidder, the Good Faith Deposit will be applied
                     to the purchase price.

              iv.    Fully disclose the identity of each entity that will be
                     bidding in the Auction, including, without limitation, the
                     identity of any control parties of such Qualified Bidder.


        b.    Due Diligence. The Receiver is not responsible for, and will bear no

  liability with respect to, any information obtained by any Qualified Bidder in

  connection with the sale of the Receivership Assets.

        c.    Auction.

              i.     If there is at least one Qualified Bidder other than AAPICO, the
                     Receiver shall conduct an auction (the “Auction”) for the sale of
                     the Receivership Assets. The Auction shall commence at 2:00
                     p.m. on October 2, 2019 (the “Auction Date”) at the offices of
                     The Dragich Law Firm PLLC, 17000 Kercheval Avenue, Suite
                     210, Grosse Pointe, 48230 or such other location selected by the
                     Receiver with notice to Qualified Bidders. The Receiver shall
                     notify all Qualified Bidders of the time and place of the Auction.
                     Only the Plaintiff, Qualified Bidders, and holders of liens in the
                     Purchased Assets may attend the Auction. Only Qualified
                     Bidders shall be eligible to bid and participate at the Auction.

              ii.    The initial bid at the Auction shall equal or exceed the minimum
                     overbid amount. The “Minimum Overbid Amount” shall be in
                     cash and shall equal the sum of the Purchase Price, the Expense
                     Reimbursement Amount, the Break-Up Fee, and the initial
                     overbid of $1,000,000. Any subsequent bid must increase
                     consideration in an amount to be determined by the Receiver (the
                     “Bid Increment”). The Minimum Overbid Amount will be
                     determined by the Receiver at the Auction.

              iii.   At the Auction, the Receiver shall receive bids based upon the
                     form of the Stalking Horse Purchase Agreement attached to the
                     Motion as Exhibit B, subject to any Bid Increment established in

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                     connection with these procedures. If, at the Auction, the
                     Receiver determines in his business judgment that the Bid
                     Increment does not facilitate bidding or does not reduce the
                     administrative costs associated with the Auction process, the
                     Receiver may establish a new Bid Increment or determine that a
                     pre-existing Bid Increment no longer applies. Qualified Bidders
                     may submit as many bids as they desire, but no bids may be
                     revoked once submitted, except as otherwise provided herein.

              iv.    The Receiver may conduct the Auction without the assistance of
                     a separately retained auctioneer. The Auction shall be conducted
                     by the Receiver in a manner calculated by the Receiver in his
                     sole discretion to achieve the higher and/or best offer for the
                     Receivership Assets.

              v.     Upon conclusion of the bidding, the Auction shall be closed. The
                     Receiver shall immediately determine the highest and best bid
                     (the “Successful Bid”) on the basis of the consideration offered
                     and the financial commitment of the Qualified Bidder and
                     certainty of consummating the sale, and the Successful Bid shall
                     be memorialized and accepted by the immediate execution of a
                     purchase agreement substantially in the form of Exhibit B
                     attached to the Motion, with the consideration changed to reflect
                     the amount of the Successful Bid at the Auction.

        d.    Closing. Unless otherwise ordered by the Court, closing on the sale of

  the Receivership Assets shall occur on a date selected by the Receiver after the

  Auction Date, but according to the Stalking Horse Purchase Agreement, no later than

  October 15, 2019, at the offices of Jones Day, 150 West Jefferson Avenue, Suite

  2100, Detroit, Michigan, or such other place or time as shall be agreed upon by the

  Successful Bidder and the Receiver (the “Closing Date”). In the event the Successful

  Bidder fails to close the sale of the Receivership Assets on the Closing Date, the

  Receiver may notify the party that asserted the next highest or otherwise best offer

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  for the Receivership Assets that its bid has become the Successful Bid (the “New

  Successful Bid”). Closing on the New Successful Bid shall occur as soon as possible

  following such notice, on a date reasonably selected by the Receiver. This process

  shall continue until the sale of the Receivership Assets has closed. If there are no

  qualified bids other than the Stalking Horse Bid, the Closing shall take place with

  AAPICO pursuant to the Stalking Horse Purchase Agreement on or before October

  15, 2019.

        e.    Break-Up Fee. If a closing of a sale of the Purchased Assets is

  consummated with a purchaser other than AAPICO, the Stalking Horse Purchase

  Agreement provides that, subject to approval of this Court, the Receiver will pay

  AAPICO a Break-Up fee for lost opportunity costs as well as actual and projected

  out-of-pocket expenses incurred in connection with the tender of its offer, in the

  amount of $1,000,000.00 for the Break-Up Fee and up to $1,000,000 for the

  reimbursement of expenses to be paid at the Closing of the sale of the Purchased

  Assets from the sale proceeds.

        f.    Escrow of the Good Faith Deposits. Unless otherwise agreed to by

  the Receiver, the Good Faith Deposits of all Qualified Bidders shall be held in a

  segregated escrow account until the Closing of the sale of the Receivership Assets.

  If a Successful Bidder fails to consummate an approved sale because of a breach or

  failure to perform on the part of such Successful Bidder, the Receiver shall be



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  entitled to retain the Good Faith Deposit as liquidated damages resulting from the

  breach or failure to perform by the Successful Bidder. The Receiver shall be entitled

  to return the Good Faith Deposits of any Qualified Bidders who do not become the

  Successful Bidder after Closing of the sale of the Receivership Assets without

  further order of the Court.

        The Receiver believes the Stalking Horse Bid is the highest and best offer of

  the Purchased Assets. Therefore, a sale to AAPICO, or in the alternative, the

  Successful Bidder if there is one, is in the best interest of the Defendants’ creditors.

  Additionally, any such sale will be free and clear of any and all liens, claims,

  encumbrances, and/or other interests. Further, the holder of any such lien, claim, or

  encumbrance can be adequately protected by having its respective lien, claim, or

  encumbrance transferred to the proceeds of sale with the same priority, validity,

  force, and effect as existed with respect to the Receivership Assets immediately prior

  to such sale.

                                        NOTICE

        The Receiver intends to notify all interested parties, including all purported

  lienholders and taxing authorities, of this Motion and the Stalking Horse Bid

  received from AAPICO prior to any hearing scheduled for this Motion to afford all

  parties an opportunity to be heard. The Notice of Auction and Sale of Receivership

  Assets, attached to the Motion as Exhibit C, will also be served on all potential



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  bidders no later than two business days after the Court enters this order approving

  the Motion to ensure that all parties have adequate time to bid on the Receivership

  Assets. Additionally, the Notice of Auction and Sale of Receivership Assets

  provides that any objections to the Auction contemplated herein must be filed with

  this Court by October 4, 2019, and also served on the attorney for the Receiver and

  the Stalking Horse Bidder.




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